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 6 Attorneys for Plaintiff
   MARQUISE BAILEY
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 8
                                UNITED STATES DISTRICT COURT
 9
                           CENTRAL DISTRICT OF CALIFORNIA
10
11   MARQUISE BAILEY,                               Case No.: 2:23-cv-7460 DDP (ASx)

12                 Plaintiff,                       JOINT STIPULATION FOR
                                                    DISMISSAL WITH PREJUDICE
13
            vs.                                     PURSUANT TO FEDERAL RULE OF
14                                                  CIVIL PROCEDURE 41(a)(1)(A)(ii)
15   SL INVETRUST LLC; and DOES 1 to 10,
16                 Defendants.
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18
19         Plaintiff MARQUISE BAILEY (“Plaintiff”) and Defendant SL INVETRUST
20 LLC (“Defendant”) hereby stipulates as follows:
21      WHEREAS, the Parties herein have reached a confidential settlement in the
22 above-captioned case and the Parties would like to avoid any additional expense, and
23 further the interests of judicial economy.
24         IT IS HEREBY STIPULATED, by and between Plaintiff MARQUISE BAILEY
     on the one hand and Defendant SL INVETRUST LLC, on the other hand, by themselves
25
     and/or through their respective attorneys of record that, pursuant to Federal Rule of Civil
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     Procedure 41(a)(1)(A)(ii), the above-captioned action be dismissed in its entirety and
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                                                 -1-
         JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE PURSUANT TO FEDERAL RULE OF CIVIL
                                       PROCEDURE 41(a)(1)(A)(ii)
  Case 2:23-cv-07460-DDP-AS Document 14 Filed 02/28/24 Page 2 of 2 Page ID #:49



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     with prejudice as to all claims, counterclaims, and causes of action. Each Party to this
 2
     Stipulation are to bear his/her/its own respective costs and attorneys’ fees.
 3
 4
     DATED: February 27, 2024         SO. CAL. EQUAL ACCESS GROUP
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 6
 7
                                      By:     /s/ Jason J. Kim
 8                                          Jason J. Kim, Esq.
                                      Attorneys for Plaintiff
 9
10
11
     Dated: February 28, 2024           LAW OFFICES OF ALBERT CHANG
12
13                                By: /s/ Hector Hsu

14                                      Hector Hsu, Esq.
                                        Attorneys for Defendant
15                                      SL INVETRUST LLC
16
17
18
19                              SIGNATURE CERTIFICATION
20         I hereby certify that the content of this document is acceptable to counsel for
21 Defendant, and that I have obtained opposing counsel’s authorization to affix his
22 electronic signature to this document.
23
24
                                             By: /s/ Jason J. Kim
25                                               Jason J. Kim, Esq.
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                                                 -2-
         JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE PURSUANT TO FEDERAL RULE OF CIVIL
                                       PROCEDURE 41(a)(1)(A)(ii)
